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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division


 TOMMY RAY HIGGINS,

                        Petitioner,

 v.                                                            Criminal No. 2:03cr103
                                                               Civil No. 2:05cv208

 UNITED STATES of AMERICA,

                        Respondent.



                                       OPINION & ORDER

        Pro se Petitioner, Tommy Ray Higgins (“Petitioner”), filed this Motion Under 28 U.S.C.

 § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody on February 8,

 2005.1 Petitioner’s Motion relies primarily on two grounds: (1) that his sentence is

 unconstitutional in light of the rules announced in Booker and Blakely; and, (2) that he was

 denied effective assistance of counsel because his attorney failed (a) to argue for a reduction of

 sentence under Blakely, which had not yet been announced, (b) to contest his sentencing

 pursuant to a drug quantity greater than that alleged at the indictment, and (c) to request a

 reduction of sentence under the safety valve of U.S.S.G. § 5C1.2. Doc. 141. Because

 Petitioner’s arguments are without merit, his Motion is DENIED and DISMISSED.



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          Although Petitioner’s Motion was filed by the Clerk on February 10, 2005, it is deemed
 filed with the Court on the date that it was placed in the prison mailing system. See Houston v.
 Lack, 487 U.S. 266, 270-71 (1988) (stating the special rule for pro se prisoners in light of the
 challenges faced in ensuring that their court documents are timely filed).

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        Petitioner also filed a “Motion to Request Revision on Terms of Supervised Release

 Requirements” on July 19, 2005. Doc. 162. This Court will not consider modification of the

 terms of supervised release until such has been approved by Petitioner’s Probation Officer after

 Petitioner has begun his term of supervised release. Because Petitioner is still incarcerated, his

 Motion to modify the terms of supervised release is DENIED and DISMISSED.

                                I. FACTS AND PROCEDURAL HISTORY

        On December 19, 2003, Petitioner plead guilty to one count of conspiracy to distribute, to

 possess with intent to distribute, and to manufacture marijuana in violation of 21 U.S.C. § 846.

 Doc. 6. On March 24, 2004, Petitioner was sentenced to seventy eight (82) months in prison and

 four (4) years of supervised release. Doc. 102. Petitioner did not appeal his sentence.

        Petitioner filed this Motion pursuant to § 2255 on February 10, 2005. Doc. 152. The

 Government filed its reply on February 9, 2005. Doc. 177. Petitioner did not file a rebuttal

 memorandum.

        Petitioner also filed a “Motion to Request Revision on Terms of Supervised Release

 Requirements” on July 19, 2005. Doc. 162. The Government has not filed a reply.

                                     III. STANDARD OF REVIEW

        Section 2255 is designed to correct fundamental constitutional or jurisdictional errors,

 which would otherwise “inherently result[] in a complete miscarriage of justice.” United States

 v. Addonizio, 422 U.S. 178, 185 (1979). In order to move the Court to vacate, set aside or

 correct a sentence under § 2255, a petitioner must prove that one of the following occurred: (1)

 that his sentence was imposed in violation of the Constitution or laws of the United States; (2)

 that the Court was without jurisdiction to impose such a sentence; (3) that the sentence was in


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 excess of the maximum authorized by law; or (4) that the sentence is otherwise subject to

 collateral attack. 28 U.S.C. § 2255 ¶ 1.

        A motion pursuant to 28 U.S.C. § 2255 “may not do service for an appeal,” United States

 v. Frady, 456 U.S. 152, 165 (1982), and therefore § 2255 claims that should have been raised at

 trial, Wainwright v. Sykes, 422 U.S. 72, 97 (1977), and claims that could have been raised on

 direct appeal but were not, Frady, 456 U.S. at 167-68, are procedurally defaulted unless one of

 three exceptions applies. The first exception is when a petitioner demonstrates “cause” for his

 procedural default and “actual prejudice” therefrom. Id. The second is when a petitioner can

 demonstrate his actual innocence in either a capital case, or a case in which a recidivist

 sentencing enhancement was applied to the petitioner. United States v. Mikalajunas, 186 F.3d

 490, 494-95 (4th Cir. 1999). The third exception is when a petitioner brings a claim of

 constitutionally ineffective assistance of counsel under the standard set forth in Strickland v.

 Washington, 466 U.S. 668, 687-91 (1984). United States v. DeFusco, 949 F.2d 114, 120-21 (4th

 Cir. 1991).

        Because a habeas petition is a civil action, the burden of proof is upon the petitioner to

 establish the allegations of his motion by a preponderance of the evidence. Jacobs v. United

 States, 350 F.2d 571, 574 (4th Cir. 1965); Hall v. United States, 30 F. Supp. 2d 883, 889 (E.D.

 Va. 1998). The court is not required to hold an evidentiary hearing on a § 2255 petition if the

 record of the case conclusively shows that petitioner is not entitled to relief. United States v.

 Yearwood, 863 F.2d 6, 7 (4th Cir. 1988); United States v. Rowland, 848 F. Supp. 639 (E.D. Va.

 1994). Nevertheless, because he has filed his Motion pro se, the Petitioner is entitled to have his

 petition and asserted issues construed liberally. See Gordon v. Leeke, 574 F.2d 1147 (4th Cir.


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 1978).

          Title 28 of the United States Code, § 2255 ¶ 6 prescribes a one-year statute of limitations

 period from “when the judgment of conviction becomes final,” in which to attack a defendant’s

 sentence or conviction. A judgement of conviction becomes final when the time for seeking

 review of the judgment expires. Allen v. Hardy, 478 U.S. 255, 258 (1986) (“By final we mean

 where the judgment of conviction was rendered, the availability of appeal exhausted, and the

 time for petition for certiorari had elapsed . . . .”). In a criminal case, a defendant’s notice of

 appeal must be filed in the district court within ten days after the entry of judgment. See Fed R.

 App P. 4(b)(1)(A) & 26(a)(1)-(2). Judgment against the Petitioner was entered on March 24,

 2004, giving him until April 6, 2004 to file a notice of appeal. See id. (filing periods of less than

 eleven days shall not include weekends or federal holidays). Petitioner did not appeal.

 Therefore, judgment became final as of April 6, 2004, and he had until April 6, 2005 to file a §

 2255 Motion. Petitioner filed his § 2255 Motion on February 8, 2005, within the applicable

 limitations period. Petitioner’s Motion is therefore timely.

                                             IV. ANALYSIS

          Petitioner alleges that he is entitled to a reduction or vacation of sentence on two primary

 grounds: (1) that his sentence is unconstitutional in light of the rules announced in Booker and

 Blakely; and (2) that he was denied effective assistance of counsel because his attorney failed (a)

 to argue for a reduction of sentence under Blakely, which had not yet been announced, (b) to

 contest his sentencing pursuant to a drug quantity greater than that alleged at the indictment, and

 (c) to request a reduction of sentence under the safety valve of U.S.S.G. § 5C1.2. Doc. 141. All

 of Petitioner’s claims are without merit.


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                    A. Unconstitutional Sentence Under Booker and Blakely

         Petitioner contends that he is entitled to relief because, following the United States

 Supreme Court’s decisions in Booker and Blakely, his sentence under the Federal Sentencing

 Guidelines is unconstitutional. Doc. 152 at 5; see United States v. Booker, 543 U.S. 220 (2005);

 Blakely v. Washington, 542 U.S. 296 (2004). Petitioner alleges that, following Booker and

 Blakely, “the Petitioner may not be submitted by preponderance of the evidence standard to any

 punishment unless it is submitted to the Grand Jury, alleged and read to Petitioner, [and] thus the

 Petitioner must be resentenced according to information” submitted to the Grand Jury. Dec. 141

 at 5.

         Petitioner’s Booker and Blakely claims are not cognizable. The Fourth Circuit has held

 that Booker is not retroactively available to federal prisoners on collateral review. United States

 v. Morris, 429 F.3d 65, 72 (4th Cir. 2005). Similarly, any relief that Petitioner claims under

 Blakely does not apply retroactively to Petitioner’s collateral attack, which became final on

 April 6, 2004. See id. Because Petitioner’s case became “final” for the purposes of retroactive

 analysis well before Booker and Blakely were decided, these cases do not apply to Petitioner on

 collateral review. Doc. 152; see Booker, 543 U.S. 220; Blakely, 542 U.S. 296. Therefore,

 Petitioner’s claims are DENIED.

                                B. Ineffective Assistance of Counsel

                                        1. Standard of Review

         To succeed in establishing a claim that his Sixth Amendment right to counsel was

 violated, Petitioner must show that counsel’s failure was so serious that counsel’s representation

 was not within the range of competence demanded of other attorneys, and that but for counsel’s


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 deficient representation, there is a reasonable probability that the result would have been

 different. Strickland v. Washington, 466 U.S. 668, 686 (1984); Hill v. Lockhart, 474 U.S. 52, 56

 (1985). In order to prove that defense counsel was so deficient so as to warrant reversal of a

 conviction, a petitioner must satisfy the test set forth in Strickland v. Washington, 466 U.S. 668,

 687 (1984). Petitioner has the burden of showing that his attorney’s performance was

 objectively unreasonable, and because of counsel’s errors, Petitioner was prejudiced.

        First, Petitioner must show that counsel’s performance was deficient. Id. To do this,

 Petitioner must produce evidence that “counsel made errors so serious that counsel was not

 functioning as the ‘counsel’ guaranteed . . . by the Sixth Amendment.” Id. As part of the

 inquiry, the Court must determine whether counsel’s acts or omissions were “outside the wide

 range of professionally competent assistance.” Id. at 690. However, there is a presumption that

 an attorney’s performance is adequate, and a Court will not second-guess strategic decisions by

 counsel. Id. at 690.

        Second, Petitioner must show that the defective representation “prejudiced the

 [Petitioner].” Id. at 687. In order for Petitioner to establish prejudice under the second prong,

 “the [Petitioner] must show that there is a reasonable probability that, but for counsel’s

 unprofessional errors, the result of the proceeding would have been different. A reasonable

 probability is a probability sufficient to undermine confidence in the outcome.” Id. at 694. The

 Petitioner must prove both prongs of the Strickland test, but the Court need not examine both

 elements of the inquiry if the Petitioner fails to make a proper showing as to one. Id. at 697.

        In making its inquiry into the reasonableness of counsel’s representation, the court must

 be “highly deferential” to the counsel’s performance. Id. at 689. “A fair assessment of attorney


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 performance requires that every effort be made to eliminate the distorting effects of hindsight, to

 reconstruct the circumstances of counsel’s challenged conduct, and to evaluate the conduct from

 counsel’s perspective at the time. Id. The petitioner must overcome the presumption that the

 counsel’s challenged decision at the time “might be considered sound trial strategy.” Id.

 (citation omitted). Because there are infinite ways by which to litigate a given case—”[e]ven the

 best criminal defense attorneys would not defend a particular client in the same way”—the court

 will not second-guess a chosen strategy absent unreasonable error. Id. (citation omitted).

                                           2. Safety Valve

        Petitioner contends that his counsel, Gretchen Taylor, was constitutionally ineffective for

 failing to argue for application of the “safety valve” of U.S.S.G. § 5C1.2 to his sentence. If

 counsel had argued, and the Court found, that the “safety valve” of § 5C1.2 applied to Petitioner,

 he would have been entitled to a two (2) level reduction. For the safety valve to apply, the

 Petitioner must meet five requirements at the time of his sentencing: that Petitioner (1) does not

 have more than one (1) criminal history point; (2) did not use violence or credible threats of

 violence; (3) the offense did not result in death or serious injury; (4) Defendant was not an

 organizer, leader, manager, or supervisor of others in the offense; and (5) it appears that the

 Defendant has truthfully provided the Government with all information and evidence the

 Defendant had concerning this offense. U.S.S.G. § 5C1.2(a).

        Petitioner’s counsel was not deficient for failing to argue at sentencing that Petitioner

 was entitled to application of the safety valve in the Sentencing Guidelines, because Petitioner

 did not meet the five requirements of § 5C1.2. Petitioner was ineligible for the safety valve

 because he has three (3) criminal history points. PSR at 12-14; PSR Worksheet C (Petitioner has


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 one (1) point for driving under the influence of alcohol under U.S.S.G. § 4A1.1(c), and two (2)

 points for committing the instant offense while on probation). Because Petitioner cannot even

 meet the first prong of the statute, his counsel was not ineffective for failing to make an

 argument unsupported by the facts. This claim is accordingly DENIED.

                          3. Failure to Make an Argument under Blakely

        Petitioner contends that he was denied effective assistance of counsel because his counsel

 did not object to his sentence under the Sentencing Guidelines, though Blakely had not yet been

 decided. As discussed above, Blakely had not been decided at the time of Petitioner’s

 sentencing, Blakely, 542 U.S. 296, and Blakely does not apply retroactively to cases on

 collateral review, Morris, 429 F.3d at 72; therefore, for Petitioner’s claim to be plausible, he

 would have to argue that counsel was ineffective for not making a novel argument. This

 contention, too, is without merit.

        The law does not require that counsel provide every conceivable argument available

 within the law; only that counsel in good faith “vigorously advocate the defendant’s cause.”

 Strickland v. Washington, 466 U.S. 668, 688 (1984) (rejecting the imposition of strict guidelines

 on attorneys’ representation in lieu of the general duties of loyalty, advocacy the defendant’s

 cause, bringing “to bear such skill and knowledge as will render the trial a reliable adversarial

 testing process”). Indeed, tactical decisions made by counsel in the course of litigation need not

 be perfect; rather, counsel’s decisions need only need be “reasonable considering all the

 circumstances.” Id. As noted above, Petitioner’s counsel made numerous arguments and

 objections in serving his client, and his failure to raise one novel argument cannot be construed

 as constitutionally-deficient representation. Additionally, the argument Petitioner posits here


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 was not applied to his circumstances until Blakely, and as previously noted, this case does not

 apply to Petitioner retroactively. Petitioner’s claim is DENIED.

            4. Failure to Object to the Drug Quantity with which Petitioner was Sentenced

        Petitioner alleges that he was sentenced in accordance with a drug quantity greater than

 that included in his indictment, and that his counsel was ineffective for failing to object to the

 higher drug quantity. Doc. 141 at 6. The indictment alleges that 1000 kilograms or more are

 attributable to Petitioner. Doc. 5 at 2-3. The exact amount of marijuana attributable to the

 Petitioner was determined by the Court in accordance with the Presentence Investigation Report

 (“PSR”), which attributed 1,000.7187 kilograms to Petitioner. PSR at 10. Petitioner’s counsel

 objected to the drug quantities in the PSR and obtained a reduction of attributable drug weight,

 minus the packaging, of 999.99 kilograms. Doc. 85 at 3. Thus, Petitioner was sentenced in

 accordance with a drug quantity less than that included in his indictment, not more.2 Petitioner’s

 claim is thus plainly without merit, and the Court will not hold counsel responsible for failure to

 assert meritless claims. This claim is DENIED.

                       V. MOTION TO AMEND TERMS OF SUPERVISED RELEASE

        Petitioner filed a “Motion to Request Revision on Terms of Supervised Release” on July

 19, 2005, in which he requested that this Court restore his driving privileges so that he may drive

 to and from work in support of his family. Doc. 162. This Court will not consider modification

 of the terms of supervised release until such has been approved by Petitioner’s Probation Officer

 after Petitioner has begun his term of supervised release. Because Petitioner is still incarcerated,



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         Petitioner’s factual allegations as to drug quantities are difficult to follow. The Court
 suspects that he possibly confused pounds with kilograms in asserting this claim.

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 his Motion to modify the terms of supervised release is DENIED and DISMISSED.

                                            VI. CONCLUSION

          Petitioner’s § 2255 Motion and Motion for modification of the terms of supervised

 release are hereby DENIED and DISMISSED.

          The Clerk is REQUESTED to mail a copy of this Opinion and Order to Petitioner and

 counsel of record for the United States.

          Petitioner is ADVISED that he may appeal this Opinion and Order by forwarding a

 written notice of appeal to the Clerk, United States District Court, United States Courthouse, 600

 Granby Street, Norfolk, Virginia 23510. Said written notice must be received by the Clerk

 within sixty (60) days from the date of this Order. If Petitioner wishes to proceed in forma

 pauperis on appeal, the application to proceed in forma pauperis is to be submitted to the Clerk,

 United States Court of Appeals for the Fourth Circuit, 1100 E. Main Street, Richmond, Virginia

 23219.

          It is so ORDERED.



                                                               /s/
                                                     HENRY COKE MORGAN, JR.
                                                UNITED STATES SENIOR DISTRICT JUDGE

 .
 Norfolk, Virginia
 October 18, 2006




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